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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

  In re:
                                                     Chapter 11
  BAYOU STEEL BD HOLDINGS, LLC, et al.,
                                                     Case No. 19-12153 (KBO)
                   Debtors.
                                                     (Jointly Administered)

                                                     Re:   Docket Nos. 406, 422, 426, 431, 432, 433,
                                                           438, 442, 445, 446 and 448

              OMNIBUS LIMITED OBJECTION TO MOTION FOR ALLOWANCE
              AND PAYMENT OF ADMINISTRATIVE EXPENSE, MONTHLY FEE
              APPLICATIONS AND INTERIM AND FINAL FEE APPLICATIONS

        Entergy Louisiana, LLC (“Entergy Louisiana”) submits this omnibus objection (this

“Objection”) to the following motions and applications which seek allowance and payment of

administrative expenses (collectively, the “Motions and Applications”) and, in support of the

Objection respectfully states as follows below:


        1.       Second Monthly Fee Application of Polsinelli PC for Compensation and
                 Reimbursement of Expenses as Counsel to the Debtors and Debtors in Possession for
                 the Period from November 1, 2019 through November 30, 2019 [Docket No. 406];

        2.       Motion of Traxys North America LLC for Allowance and Payment of Administrative
                 Expense Pursuant to 11 U.S.C. § 503(b)(9) [Docket No. 422]

        3.       Third Monthly Fee Application of Polsinelli PC for Compensation and
                 Reimbursement of Expenses as Counsel to the Debtors and Debtors in Possession for
                 the Period from December 1, 2019 through December 31, 2019 [Docket No. 426];

        4.       Second Monthly Fee Application of Alvarez & Marsal North America, LLC for
                 Payment of Compensation and Reimbursement of Expenses as Financial Advisor to
                 the Official Committee of Unsecured Creditors for the Period from December 1, 2019
                 through December 31, 2019 [Docket No. 431];

        5.       Third Monthly Fee Application of Kelley Drye & Warren LLP for Compensation for
                 Services Rendered and Reimbursement of Expenses Incurred as Lead Counsel to the
                 Official Committee of Unsecured Creditors of Bayou Steel BD Holdings, L.L.C., et
                 al., for the Period from December 1, 2019 through and including December 31, 2019
                 [Docket No. 432];


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        6.     Third Monthly Fee Application of Cole Schotz P.C., Delaware Co-Counsel to the
               Official Committee of Unsecured Creditors, for Allowance of Compensation and
               Reimbursement of Expenses for the Period from December 1, 2019 through
               December 31, 2019 [Docket No. 433];

        7.     First Interim Fee Application of Polsinelli PC for Compensation and Reimbursement
               of Expenses as Counsel to the Debtors and Debtors in Possession for the Period from
               October 1, 2019 through December 31, 2019 [Docket No. 442];

        8.     First Interim Fee Application of Alvarez & Marsal North America, LLC for Payment
               of Compensation and Reimbursement of Expenses as Financial Advisor to the
               Official Committee of Unsecured Creditors for the Period from October 18, 2019
               through December 31, 2019 [Docket No. 444];

        9.     First Interim Fee Application of Kelley Drye & Warren LLP for Allowance of
               Compensation for Services Rendered and Reimbursement of Expenses Incurred as
               Lead Counsel to the Official Committee of Unsecured Creditors of Bayou Steel BD
               Holdings, L.L.C., et al., for the Period from October 10, 2019 through and including
               December 31, 2019 [Docket No. 445];

        10.    First Interim Fee Application of Cole Schotz P.C., Delaware Co-Counsel to the
               Official Committee of Unsecured Creditors, for Allowance of Compensation and
               Reimbursement of Expenses for the Period from October 10, 2019 through
               December 31, 2019 [Docket No. 446]; and

        11.    First and Final Fee Application of Candlewood Partners, LLC as Investment Banker
               for the Debtors for Allowance of Compensation for Services Rendered and
               Reimbursement of Expenses Incurred for the Period from October 1, 2019 through
               January 31, 2020 [Docket No. 448].

                                             Background

        1.     On October 1, 2019 (the “Petition Date”), the above-captioned debtors and debtors-

in-possession (the “Debtors”) each filed a voluntary petition for relief under chapter 11 of title 11 of

the United States Code 11 U.S.C. § 101 et seq. (the “Bankruptcy Code”).

        2.     According to the Debtors, since December 28, 2019, the Debtors have had no

remaining employees and have not been operating in any capacity other than collecting receivables.

[Docket No. 449, at ¶ 13].

        3.     The sale of substantially all of the Debtors’ assets closed on January 31, 2020.

[Docket No. 447].


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        4.         Entergy Louisiana provided electric utilities to the Debtors through January 31, 2020.

The Debtors have made no payments to Entergy Louisiana for utilities provided since the Petition

Date, except for four payments totaling approximately $255.1 The Debtors owe Entergy Louisiana

approximately $761,826 on post-petition invoices that have been submitted to the Debtors. Plus, the

Debtors owe Entergy Louisiana an additional approximately $250,000 that has not been invoices for

utilities provided through the end of January 2020.2

        5.         The Official Committee of Unsecured Creditors and Black Diamond Commercial

Finance, L.L.C. have moved the Court for entry of orders converting the Debtors’ Chapter 11 Cases

to Chapter 7 Cases. [Docket Nos. 417, 419]. Both motions represent that the Debtors are insolvent.

Hearings are set for February 13, 2020.

        6.         On December 23, 2019, at the hearing to approve the sale of its assets, the Debtors

themselves represented that they would be administratively insolvent by more than $4 million after

the sale closing, with expenses continuing to accrue. No one has offered to fund the shortfall in the

Debtors’ ability to pay administrative expenses.

                                                  Limited Objection

        7.         Entergy Louisiana does not object to the amounts sought in the Motions and

Applications. However, because the Debtors’ estates appear to be insolvent, Entergy Louisiana

objects to any further payments being made to any administrative expense creditor until all such

creditors’ claims have been determined, the assets available to satisfy them are known and a ratable

distribution can be made.3


        1
         In November, 2019, the Debtors provided Entergy Louisiana a $125,000 cash deposit as adequate assurance
of payment pursuant to Bankruptcy Code Section 366.
        2
         Entergy Louisiana is also owed approximately $1.6 million for utilities provided prior to the Petition Date
and approximately $1 million in damages caused by the rejection of its executory contract with the Debtors.
        3
            Entergy Louisiana reserves the right to seek disgorgement of administrative expenses previously paid.


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                                                  Argument

        8.     Bankruptcy Code Section 503 provides that an entity can request payment of an

administrative expense, which may be allowed after notice and a hearing. “Section 503, however,

does not address the question of when a claim for administrative expense is to be paid.” In re HQ

Global Holdings, Inc., 282 B.R. 169, 173 (Bankr. D. Del. 2002). “The determination of the timing

of payment of administrative expenses is a matter within the discretion of the bankruptcy court.” Id.;

see also In re Garden Ridge Corp., 323 B.R. 136, 143 (Bankr. D. Del. 2005). “In determining the

time of payment, courts consider prejudice to the debtor, hardship to the claimant, and potential

detriment to other creditors.” 323 B.R. at 143.

               In making this determination, one of the chief factors courts consider
               is bankruptcy's goal of an orderly and equal distribution among
               creditors and the need to prevent a race to a debtor's assets.
               Distributions to administrative claimants are generally disallowed
               prior to confirmation if there is a showing that the bankruptcy estate
               may not be able to pay all of the administrative expenses in full.
               Courts will also consider the particular needs of each administrative
               claimant and the length and expense of the case's administration. To
               qualify for exceptional immediate payment, a creditor must show that
               there is a necessity to pay and not merely that the Debtor has the
               ability to pay.

In re Global Home Products, LLC, 06-10340, 2006 WL 3791955, *3 (Bankr. D. Del. Dec. 21, 2006)

(internal quotation marks and citations omitted) (citing In re HQ Global Holdings, Inc., supra).

        9.     None of the Motions and Application presents any facts showing that delay in

payment will cause hardship. Further, except for Traxys North America LLC and Candlewood

Partners, LLC, it appears the Debtors have made partial payment to the movers and applicants of the

administrative expenses incurred by them. On the other hand, allowing immediate payment to the

movers and applicants will unduly prejudice Entergy Louisiana. Its post-petition invoices remain

almost entirely unpaid, and it is still determining its final charges. Further, allowing immediate

payment will also unduly prejudice any other administrative expense claimants who have not yet

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filed requests for allowance. Entergy Louisiana respectfully submits that further payments of

administrative expenses should be deferred until all administrative expense creditors’ claims have

been determined, the assets available to satisfy them are known and a ratable distribution can be

made.

        WHEREFORE, Entergy respectfully requests that this Court enter orders on the Motions and

Applications: (i) deferring payment of any administrative expenses that the Court may determine

should be allowed until all such administrative expenses have been determined, the assets available

to satisfy them are known and a ratable distribution can be made; and (ii) granting such further relief

as is appropriate.

DATED: February 3, 2020                        WOMBLE BOND DICKINSON (US) LLP

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